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Clsd
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ICN Ph. ticals, Inc. —— Enier CLERK, U.S. DISTRICT COURT
armaceuticals, Inc “Tt 36-5/48-6 ENTRAL DISTRICT (OF CALIFORNIA
aw US-2/J8-3 DEPUTY
UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

VALUEPOINT PARTNERS, INC., on Case No. SACV 03-989 DOC (ANx)
behalf of itself and all others similarly

situated,
Plaintiff, STIPULATION OF SETTLEMENT
v.
ICN PHARMACEUTICALS, INC., PROPOSED) ORDER
MILAN PANIC, RICHARD A. RELIMINARILY APPROVING
MEIER, JOHN E. GIORDANI, SETTLEMENT AND PROVIDING

NORMAN BARKER, JR., BIRCHE. ) FOR NOTICE
BAYH, EDWARD A. BURKHARDT,
ALAN F. CHARLES, RONALD R.

FOGLEMAN, ROGER GUILLEMIN, HOCKETED ON CM
M_D., Ph.D., ADAM JERNEY, JEAN-

FRANCOIS KURTZ, STEVEN J. LEE, OE
STEPHEN D. MOSES and JAN TI
ROSEMARY TOMICH,

Defendants. BY 039

Valuepoint Partners, Inc. ("Plaintiff") and Defendants (as defined in the

Stipulation}, having made an application, pursuant to Rule 23 of the Federal Rules of
Civil Procedure, for an Order implementing the settlement of this action in
accordance with the Stipulation of Settlement dated as of December 3, 2004 (the
“Stipulation”), which, together with the exhibits annexed thereto, sets forth the terms

and conditions for a proposed settlement of this action (the “Settlement”’), and for a

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judgment dismissing this action with prejudice upon the terms and conditions set

forth in the Stipulation; due notice to all parties and their counsel having been given;
the Court having read and considered the Stipulation and the exhibits annexed
thereto; the Court having considered the presentations of counsel for the parties to
the Stipulation; and the Court being otherwise fully informed in the premises; it is
hereby

ORDERED:

1.  Onor after ninety (90) days following the publishing of the Notice, a
hearing (the “Settlement Approval Hearing”) shall be held in the Courtroom of
David O. Carter of the United States District Court for the Central District of
California, before the Honorable David O. Carter (i) to determine whether the
proposed settlement, on the terms and conditions provided in the Stipulation should
be approved as fair, reasonable, and adequate and whether a judgment substantially
in the form of the [Proposed] Final Judgment and Order of Dismissal (annexed to the
Stipulation as Exhibit E) should be entered thereon; (11) to determine the applications
by the attorneys for Plaintiff and the Settlement Class for an award of attorneys’ fees
and reimbursement of expenses; and (iii) to consider the proposed Plan of
Allocation. The Court may adjourn or continue the hearing on the hearing date
without further notice to Settlement Class Members.

2. The Court:

(a) hereby conditionally certifies, for settlement purposes only,
pursuant to Federal Rule of Civil Procedure 23(b)(3), a Settlement Class defined as

follows:

ALL PERSONS AND ENTITIES WHO, ON OR BEFORE
JULY 10, 2002, PURCHASED OR OTHERWISE
ACQUIRED ANY OF THE $525 MILLION OF 6 4%
CONVERTIBLE SUBORDINATED NOTES DUE 2008
SOLD BY ICN IN OR TRACEABLE TO THE OFFERING,
WHICH OCCURRED ON OR ABOUT NOVEMBER 9, 2001
CaN ED A LOSS THEREON (the “Settlement

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Excluded from the Settlement Class are Released Parties, members of the immediate

family of each of the individual defendants, any entity in which ICN has or had a
controlling interest on July 10, 2002, and the legal representatives, heirs, executors,
successors, or assigns of any such excluded party, and any directors or officers of
ICN during the Settlement Class Period. The representative of the Settlement Class
shail be Valuepoint Partners, Inc. Counsel for the Settlement Class shall consist of
Plaintiff's counsel of record in this action.

(b) preliminarily finds that (i) the members of the Settlement Class
are sO numerous as to make joinder impracticable; (11) the claims of Plaintiff are
typical of the claims of the Settlement Class it seeks to represent; (111) the interests of
the members of the Settlement Class will be, and have been, fairly and adequately

represented by Plaintiff and its counsel of record in this action; (iv) a class action is

superior to other available methods for the fair and efficient adjudication of this
action; (v) common questions of law and fact exist as to all members of the
Settlement Class; and (vi) such common questions predominate over any questions
solely affecting individual members of the Settlement Class.

3. The Court further finds that the Settlement appears, in all respects, fair,
reasonable, and adequate. The Court hereby preliminarily approves the Stipulation
and the Settlement described therein.

4. The Court approves, in form and content, the Notice of Pendency and
Proposed Settlement of Class Action and Notice of Motion for Attorneys' Fees and
Expenses (the “Notice”), the Proof of Claim and Release, and the Summary Notice
(the “Summary Notice”), annexed as Exhibits B, C, and D, respectively, to the
Stipulation, and finds that the publication and mailing of such notices in the manner
and form set forth in the Stipulation and as set forth herein meet the requirements of
Rule 23 of the Federal Rules of Civil Procedure, the Private Securities Litigation

Reform Act of 1995, due process, and the Rules of this Court and are the best notice

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practicable under the circumstances and shall constitute due and sufficient notice to

all persons entitled thereto.
5. | Onor before:

(a) ten business days after entry of this Preliminary Approval Order,
a copy of the Notice substantially in the form annexed as Exhibit B to the Stipulation
shall be mailed by first-class mail to each Settlement Class Member to the extent
shown by the records of ICN or its transfer agent at the address set forth in such
records.

(b) twenty days after entry of this Preliminary Approval Order, a
copy of the Summary Notice, substantially in the form annexed as Exhibit D to the
Stipulation, shall be published on two separate occasions in the national edition of
The Wall Street Journal; and

(c) the Settlement Approval Hearing provided in paragraph | of this
Preliminary Approval Order, proof by affidavit of such mailing and publication shall
be filed.

6. Within ten (10) days after receiving the Notice and the Proof of Claim

and Release, nominees who purchased or otherwise acquired the ICN Convertible
Notes in or traceable to the Offering prior to July 10, 2002, shall either (1) send the
Notice and the Proof of Claim and Release to all beneficial owners of such securities,
or (ii) send a list of the names and addresses of such beneficial owners to the
Settlement Administrator who, in turn, shall promptly mail the Notice and Proof of
Claim to such beneficial owners. The Settlement Administrator shall advise such
nominees that their reasonable costs in providing the Notice and Proof of Claim and
Release to such beneficial owners will be rermbursed upon submission of appropriate
documentation.

7. Any Settlement Class Member may be excluded from the Settlement
Class by complying, on or before ten (10) business days prior to the Settlement

Approval Hearing, with the instructions and procedures set forth in Section III (2) of
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the Notice regarding exclusion from the Settlement Class. Any Settlement Class
Member who has not requested to be excluded from the Class may, but need not,
enter an appearance in this action pro se or through counsel of his own choice. Any
such Settlement Class Member who does not enter an appearance shall be
represented by Class Counsel designated herein.

8. Any Settlement Class Member who has not requested to be excluded
from the Settlement Class and who wants to object to the approval of the Stipulation,
the applications for awards of attorneys’ fees and costs, or the proposed Plan of

Allocation may do so by appearing at the Settlement Approval Hearing either in

person or through an attorney, or by presenting an objection by submitting
documents, briefs, or affidavits to the Court by filing the same with the Court, and
serving the same upon counsel for the Settling Parties, on or before ten (10) business
days prior to the Settlement Approval Hearing in the manner set forth in Section IX
of the Notice. Any Settlement Class Member who does not make his, her, or its
objection in the manner provided for herein shall be deemed to have waived such
objection and shall forever be foreclosed from making any objection to the fairness,
reasonableness, or adequacy of the proposed Settlement as incorporated in the
Stipulation, and the proposed Plan of Allocation, or to the awards of attorneys’ fees
and expenses, unless otherwise ordered by the Court.

9. Settlement Class Members who want to participate in the Settlement

shall complete and submit a Proof of Claim and Release in accordance with the
instructions contained therein. Unless the Court orders otherwise, all Proofs of
Claim and Releases must be submitted no later than seventy-five (75) days after the
Settlement Approval Hearing. Any Settlement Class Member for whom a timely and
valid Proof of Claim and Release has not been submitted within the time allowed
shall, unless otherwise ordered by the Court, be barred from sharing in the
distribution of the proceeds of the Settlement but shall nonetheless be bound by the

terms of the Final Judgment. The Settlement Administrator shall, within a

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reasonable time after the receipt thereof, give counsel for the Defendants an
opportunity to inspect and copy all Proofs of Claim and Release submitted.

10. In the event the Settlement proposed in the Stipulation is terminated or
does not become effective as provided for in the Stipulation, the counsel for any of
the Settling Parties may terminate the Stipulation by giving counsel for all other
Settling Parties written notice of the termination no later than twenty (20) days
fotlowing the date of the event giving rise to the right of termination, in which case
the provisions of Sections 15(d) and 16 of the Stipulation shall become effective.

11. Onand after the Settlement Effective Date, all Settlement Class
Members for whom timely and valid requests for exclusion from the Settlement
Class have not been submitted in accordance with the provisions of Section III (2) of
the Notice shall conclusively be deemed to have dismissed with prejudice all claims
asserted against Defendants in the Action and released all the Released Parties of all
Released Claims (as defined in the Stipulation), and shall be forever barred and
enjoined from asserting, prosecuting, or continuing the prosecution of any of the
Released Claims pursuant to the terms of the Stipulation, including such Released
Claims that are the subject of pending actions or arbitrations.

12, Pending the final determination of the fairness, reasonableness, and
adequacy of the proposed Settlement, no Settlement Class Member other than those
for whom valid Requests for Exclusion from the Class have been submitted, may,
either directly, representatively, or m any other capacity, prosecute, institute, or
commence any individual, class, or derivative action with respect to the Released

Claims against any of the Released Parties.

13. The Court reserves the right to approve the Settlement with such
modifications as may be agreed to by counsel to the parties to the Stipulation and
without further notice to members of the Settlement Class, and retains jurisdiction to

consider all further applications arising out of or connected with the proposed

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Settlement, as well as any applications for awards of fees and expenses to Plaintiff's
Counsel.

14. Pending the final determination of the fairness, reasonableness and
adequacy of the proposed Settlement, discovery and other pre-trial proceedings in
the Action are hereby stayed until further order of the Court.

15. All capitalized terms not defined in this Preliminary Approval Order

have the meanings given to them in the Stipulation.
IT IS SO ORDERED.

DATED: ALeazsecher 20, 200 4 Lessel i) ¢ flee

ATTORNEYS FOR DEFENDANTS:

DATED: December _, 2004 SKADDEN ARPS SLATE MEAGHER & FLOM,

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DATED: December __, 2004 O’DONNELL & SHAEFFER LLP

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Milan Panic

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DATED: December __, 2004 GIBSON DUNN & CRUTCHER LLP
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